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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

  ANTHONY L. WILSON                                                             Movant/Defendant

  v.                                                        Criminal Action No. 3:21-cr-059-RGJ
                                                               Civil Action No. 3:22-cv-593-RGJ

  UNITED STATES OF AMERICA                                                    Respondent/Plaintiff

                                            * * * * *

                            MEMORANDUM OPINION & ORDER

        Petitioner Anthony L. Wilson (“Wilson”) objects [DE 58] to the Magistrate Judge’s Report

 and Recommendation (“R&R”) [DE 55] for disposition of Wilson’s petition for a writ of habeas

 corpus under 28 U.S.C. § 2255 [DE 46]. The time for the United States of America to respond to

 Wilson’s objections has expired. See Fed. R. Civ. P. 72(b)(2). For the following reasons, Wilson’s

 objections are OVERRULED, and the Court ACCEPTS the Magistrate Judge’s recommended

 disposition.

                                       I.     BACKGROUND

        The Court incorporates by reference the findings of fact made in the R&R. [DE 55]. In

 relevant part, the Magistrate Judge’s R&R made the following findings of fact:

        United States Postal inspectors, while conducting an Express/Priority Mail
        profiling operation in Louisville, found one parcel that had characteristics that
        indicated it contained controlled substances on April 22, 2021. The parcel was
        placed in a line-up, and a canine from the Shively Kentucky Police Department
        gave a positive alert. Subsequently, US Postal Inspector Charles Klein obtained a
        warrant for the package and executed the warrant, finding that the package
        contained approximately five pounds of suspected methamphetamines. On the
        same day, a Shively Police Detective applied for an Anticipatory State Search
        Warrant for the delivery address. Later that afternoon at 4:48 PM, a postal inspector
        conducted a controlled delivery of the package to the address, and at 4:50 PM law
        enforcement agents went to the address, entered the single-family home, and talked
        to the occupants. Based on the discussion with the occupants, three young minors
        and an older gentleman, law enforcement learned that the package was to be picked

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        up by an individual known as “Bone.” Inspector Klein testified the older gentleman
        was the father of Ms. Reed, “the intended person that was not there that was
        supposed to receive—or expected to receive the package.” Inspector Klein further
        testified that, during law enforcement’s surveillance, Ms. Reed’s was texting her
        daughter “that someone will be coming to pick up the package[.]”

        At approximately 6:10 PM, Wilson along with two others pulled into the
        residence’s driveway. Inspector Klein stated at the preliminary hearing: We – so
        through the text messages with the – Miss Reed and her daughter, she wanted her
        daughter to take the package out to the vehicle that was coming. We, obviously, did
        not feel safe for the minor to do that, so when the vehicle did pull up, we did
        approach the vehicle. None of the occupants of the car went to the residence to ask
        for a package. Inspector Klein testified that he and four other officers, with weapons
        drawn, approached the vehicle, which had tinted windows, asked the occupants to
        step out of the car and put their hands up. There was no movement for what seemed
        like two or three minutes. Some K9 – a K9 handler approached with his – his K9,
        and, subsequently, Mr. Wilson did stick hand out of the driver’s side window, and
        we all intervened and pulled the other occupants out with Mr. Wilson as well. In
        the affidavit and the preliminary hearing, Inspector Klein stated that the smell of
        marijuana was emitting from the car. Once removed from the vehicle, Wilson and
        the two passengers were place in handcuffs. While searching the vehicle, one of the
        officers pulled out a bag and asked what was in it, and “Mr. Wilson made a
        statement that ‘Everything in the vehicle is mine, they knew nothing about – about
        it.’” This statement occurred before Wilson was Mirandized. Additionally, Wilson
        made later statements that indicated he did not know what was in the backpack. The
        backpack contained approximately five pounds of methamphetamine. The search
        also revealed two firearms in the vehicle, one of which was in the cupholder of the
        front center console.

 [DE 55 at 298-99 (citations omitted)].

        Wilson pled guilty to possession with intent to distribute methamphetamine and possession

 of a firearm by a prohibited person. [DE 23]. The charges carried a combined minimum sentence

 of 10 years. [DE 22 at 80]. Wilson entered into a binding written plea agreement with the United

 States under Federal Rule of Criminal Procedure 11(c)(1)(C), which proposed a sentence of 130

 months. [DE 55 at 299]. The Presentence Investigation Report produced a sentencing guideline

 range of 262-327 months. [DE 26]. Both the United States and Wilson submitted sentencing

 memorandums, in which both parties affirmed the request for 130 months. [DE 55 at 299].

        According to Wilson’s sentencing memorandum:

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        The undersigned and the United States discussed this case at length prior to
        resolution. The United States and Mr. Wilson recognized that there were potential
        suppression issues involving the probable cause to search the vehicle where the 5
        pounds of methamphetamine and gun were located. The United States and Mr.
        Wilson also recognized that there were potential suppression issues involving the
        alleged incriminating statements made by Mr. Wilson. In an effort to reach an
        equitable settlement while balancing the respective risks involved with litigating
        these suppression issues, Mr. Wilson and the United States agreed to a 130 month
        sentence as a reasonable compromise. Mr. Wilson respectfully requests that this
        Court accept the agreement between the parties.

 [DE 28 at 147]. And at the sentencing hearing, both parties reiterated the potential suppression

 issues and the decision to seek a negotiated settlement in lieu of filing a suppression motion. [DE

 55 at 300]. The Court accepted the plea agreement and imposed a sentence of 130 months

 imprisonment. [Id.].

        Wilson petitions this Court to vacate, amend, or set aside his sentence under 28 U.S.C.

 § 2255. [DE 46]. Wilson raises one argument in support – that his counsel was ineffective because

 he “failed to pursue a meritorious Fourth Amendment violation based on an illegal search and

 seizure[.]” [DE 46-1 at 258]. Wilson’s petition was referred to Magistrate Judge Brennenstuhl

 pursuant to 28 U.S.C. § 636(b)(1)(A) & (B) [DE 47], who issued a Report and Recommendation.

 [DE 55]. On April 29, 2024, after considering Wilson’s argument, the Magistrate Judge

 recommended that the Court deny Wilson’s claim. [Id.].

        Objections to the magistrate judge’s recommendation were due within fourteen days after

 service. See 28 U.S.C. § 636(b)(1)(C); Fed. R. Civ. P. 72(b)(2). Objections were thus due on May

 13, 2024. [DE 56 at 308]. That time period past and objections were never filed. [Id.]. As a result,

 and after independent review, this Court found no error and accepted the R&R and entered

 judgment on May 22, 2024. [Id. at 309]. Wilson filed objections on July 5, 2024, and filed two

 letters days later explaining the delay and requesting consideration of his objections [DE 59; DE




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 60]. On consideration of requests, this Court deemed Wilson’s objections timely and vacated its

 order. [DE 61].

        This Court now considers Wilson’s objections on the merits. Wilson objects to the

 Magistrate Judge’s recommendations that (1) Wilson “failed to establish that his potential

 suppression issue was so clearly meritorious that no competent attorney would think a motion to

 suppress would fail[,]” and (2) Wilson “failed to show his counsel has no reasonable strategic

 rationale for not filing a motion to suppress the physical evidence[.]” [DE 58 at 313, 315].

                                          II.     STANDARD

         A district court may refer a motion to a magistrate judge to prepare a report and

 recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Civ. P. 72(b)(1). “A magistrate judge must

 promptly conduct the required proceedings ... [and] enter a recommended disposition, including,

 if appropriate, proposed findings of fact.” Fed. R. Civ. P. 72(b)(1). This Court must “determine de

 novo any part of the magistrate judge’s disposition that has been properly objected to.” 28 U.S.C.

 § 636(b)(1); Fed. R. Civ. P. 72(b)(3). The Court need not review under a de novo or any other

 standard those aspects of the report and recommendation to which no specific objection is made

 and may adopt the findings and rulings of the magistrate judge to which no specific objection is

 filed Thomas v. Arn, 474 U.S. 140, 150, 155 (1985).

        A specific objection “explain[s] and cite[s] specific portions of the report which [counsel]

 deem[s] problematic.” Robert v. Tesson, 507 F.3d 981, 994 (6th Cir. 2007) (alterations in original)

 (citation omitted). “[A] general objection to a magistrate’s report, which fails to specify the issues

 of contention, does not satisfy the requirement that an objection be filed. The objections must be

 clear enough to enable the district court to discern those issues that are dispositive and

 contentious.” Miller v. Currie, 50 F.3d 373, 380 (6th Cir. 1995) (citing Howard v. Sec’y of Health



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 & Human Servs., 932 F.2d 505, 508 (6th Cir. 1991)). Likewise, “[t]he filing of vague, general, or

 conclusory objections does not meet the requirement of specific objections and is tantamount to a

 complete failure to object.” United States v. Estey, No. 317CR170CHBLLK3, 2023 WL 2823993,

 at *5 (W.D. Ky. Apr. 7, 2023), certificate of appealability denied, No. 23-5419, 2023 WL 7325613

 (6th Cir. Oct. 4, 2023) (quoting Cole v. Yukins, 7 F. App’x 354, 356 (6th Cir. 2001) and citing

 Miller v. Currie, 50 F.3d 373, 380 (6th Cir. 1995)). Moreover, an “objection . . . that merely

 reiterates arguments previously presented, does not adequately identify alleged errors on the part

 of the magistrate judge.” Altyg v. Berryhill, No. 16-11736, 2017 WL 4296604, at *1 (E.D. Mich.

 Sept. 28, 2017). It is true, of course, that pro se filings are construed more liberally than those

 made by those proceeding with the assistance of counsel. See Franklin v. Rose, 765 F.2d 82, 84–

 85 (6th Cir. 1985). But such liberal construction is not without its limitations. Clark v. Johnson,

 413 F. App’x 804, 817 (6th Cir. 2011) (“Though the pleading standard for pro se litigants is liberal,

 it is not without its limits, and does not ‘abrogate basic pleading essentials in pro se suits.’”). Still,

 “[o]bjections that merely state disagreements with the magistrate judge’s conclusion or restate

 arguments previously presented to the magistrate judge are improper.” United States v. David, 421

 F. Supp. 3d 433, 440 (E.D. Ky. 2019), aff’d, No. 20-5835, 2021 WL 5782360 (6th Cir. Dec. 7,

 2021).

          After reviewing the evidence, the Court is free to accept, reject, or modify the proposed

 findings or recommendations of the magistrate judge. Id. Moreover, the Court may adopt the

 findings and rulings of the magistrate judge to which no specific objection is filed. Thomas v. Arn,

 474 U.S. 140, 151 (1985).




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                                           III.    ANALYSIS

        A defendant may move to vacate, set aside, or correct his sentence, if it “was imposed in

 violation of the Constitution or laws of the United States, or that the court was without jurisdiction

 to impose such sentence, or that the sentence was in excess of the maximum authorized by law, or

 is otherwise subject to collateral attack.” 28 U.S.C. § 2255(a); McPhearson v. United States, 675

 F. 3d 553, 558–59 (6th Cir. 2012). The petitioner has the burden of proving his claims by a

 preponderance of the evidence. Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006).

        Yet a defendant may waive his right to appeal his sentence under § 2255 pursuant to a plea

 agreement. United States v. Fleming, 239 F.3d 761, 763-64 (6th Cir. 2001) (citation omitted). The

 court enforces waivers of the right to appeal a sentence so long as they “have been entered into

 knowingly and voluntarily.” Cox v. United States, 695 F. App’x 851, 853 (6th Cir. 2017). As a

 result, if the defendant waived his right to appeal, as is the case here, he may challenge the waiver

 based only on “the validity of his waiver, such as a claim that the waiver was involuntary or the

 product of ineffective assistance of counsel.” In re Acosta, 480 F.3d 421, 422 (6th Cir. 2007).

        In Strickland v. Washington, 466 U.S. 668, 686 (1984), the Supreme Court established the

 two-part, benchmark test for evaluating a claim of ineffective assistance of counsel. First, the

 defendant must show that the performance of his or her attorney was deficient. An attorney’s

 performance will be deficient if “counsel made errors so serious that counsel was not functioning

 as the ‘counsel’ guaranteed the defendant by the Sixth Amendment.” Id. at 687. Strickland directs

 courts to be highly deferential in their scrutiny of the performance of counsel. Id. at 689. In fact,

 Strickland cautions directly that “the court should recognize that counsel is strongly presumed to

 have rendered adequate assistance and made all significant decisions in the exercise of reasonable

 professional judgment.” Id. at 690; O’Hara v. Wigginton, 24 F.3d 823, 282 (6th Cir. 1994).



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 Review of an attorney’s performance should evaluate the objective reasonableness of the

 challenged attorney’s performance in the circumstances as they existed at the time of the alleged

 error, not from hindsight. McQueen v. Scroggy, 99 F.3d 1302, 1311 (6th Cir. 1996); Cobb v.

 Perrine, 832 F.2d 342, 347 (6th Cir. 1987). The Court is to presume tactical decisions of a

 defendant’s trial counsel are part of sound trial strategy and therefore will not be subject to

 successful attack absent a defendant overcoming this presumption. Varden v. Wainwright, 477

 U.S. 168, 185–87 (1986).

        The second part of Strickland’s two-part test requires that the defendant establish the

 attorney’s deficient performance prejudiced the defense. Strickland, 466 U.S. at 687. “[W]hen a

 defendant claims that his counsel’s deficient performance deprived him of a trial by causing him

 to accept a plea, the defendant can show prejudice by demonstrating a reasonable probability that,

 but for counsel’s errors, he would not have pleaded guilty and would have insisted on going to

 trial.” Lee v. United States, 137 S. Ct. 1958, 1965 (2017) (citation and internal quotation marks

 omitted). But “[c]ourts should not upset a plea solely because of post hoc assertions from a

 defendant about how he would have pleaded but for his attorney’s deficiency . . . Judges should

 instead look to contemporaneous evidence to substantiate a defendant’s expressed preferences.”

 Id. at 1967. This is an objective test, so a petitioner must show “that a decision to reject the plea

 bargain would have been rational under the circumstances.” United States v. Jabero, No. 03-

 81060-2, 2012 WL 3109405, at *4 (E.D. Mich. July 31, 2012) (quoting Padilla v. Kentucky, 559

 U.S. 356, 371 (2010)).

    A. First Objection

        Wilson objects to the Magistrate Judge’s recommendation that Wilson “failed to establish

 that his potential suppression issue was so clearly meritorious that no competent attorney would



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 think a motion to suppress would fail[.]” [DE 58 at 313]. Magistrate Judge Brennenstuhl reasoned

 that the decision for counsel to not pursue a suppression motion was a reasonable strategy, as

 Wilson received less than half of the minimum guideline range. [DE 55 at 305]. Wilson argues

 that no reasonable attorney would have failed to move to suppress because the text messages and

 the smell of marijuana do not support a finding of reasonable suspicion, and therefore the search

 of the vehicle violated his fourth amendment right. [DE 58 at 314-15].

        “The stop of a vehicle qualifies as the ‘seizure’ of a ‘person’ that must be ‘reasonable’

 under the Fourth Amendment.” United States v. Brooks, 987 F.3d 593, 598 (6th Cir. 2021) (citing

 Whren v. United States, 517 U.S. 806, 809–10 (1996)). Officers may stop a driver based on a

 reasonable suspicion that a felony has occurred or that a misdemeanor is continuing to occur Id.;

 United States v. Collazo, 818 F.3d 247, 253–54 (6th Cir. 2016). The Sixth Circuit has indicated

 that, if a misdemeanor is completed, officers must have probable cause for an investigatory stop.

 Gregory v. Burnett, 577 F. App’x 512, 516 (6th Cir. 2014) (citing United States v. Simpson, 520

 F.3d 531, 540–41 (6th Cir. 2008)).

        “Reasonable suspicion” is a less demanding standard than probable cause and requires a

 showing considerably less than preponderance of the evidence.” Illinois v. Wardlow, 528 U.S. 119,

 123 (2000). Reasonable suspicion is “more than an ill-defined hunch; it must be based upon a

 particularized and objective basis for suspecting the particular person of criminal activity.”

 Houston v. Clark Cnty. Sheriff Deputy John Does 1-5, 174 F.3d 809, 813 (6th Cir. 1999) (cleaned

 up). “It requires specific and articulable facts which, taken together with rational inferences from

 those facts, reasonably warrant an investigatory stop.” Id. (quotations and citation omitted).

        However, “an officer’s detection of the smell of marijuana in an automobile can by itself

 establish probable cause for a search.” United States v. Elkins, 300 F.3d 638, 658 (6th Cir. 2002).



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 Probable cause is defined as “reasonable grounds for belief, supported by less than prima facie

 proof but more than mere suspicion.” United States v. Bennett, 905 F.2d 931, 934 (6th Cir.1990),

 Probable cause exists “when there is a ‘fair probability,’ given the totality of the circumstances,

 that contraband or evidence of a crime will be found in a particular place.” Davidson, 936 F.2d at

 859.

        Here, the scent of marijuana provided probable cause to justify a search of the entire

 vehicle. United States v. Bailey, 407 F. App’x 27, 28-29 (6th Cir. 2011) (finding that the

 automobile exception applied when the smell of marijuana provided probable cause to initially

 search the car, and marijuana was found on the floorboard). Wilson argues that it is impossible for

 the officer to smell marijuana because the windows of the car were rolled up. [DE 58 at 314].

 However, according to Inspector Klein’s affidavit, it was only after Wilson and the two other

 occupants were detained that the odor of marijuana emitted from the car. [DE 1-1 at 6 ¶ 11]. In

 other words, the car door was open when officers smelled marijuana, and therefore, Wilson’s

 argument that officers could not smell marijuana through a closed window is moot.

        Wilson also contends that “[Ms. Reed’s] text messages do not support a finding that

 reasonable suspicion was present because the messages do not establish that any person in the

 vehicle was ‘Bone.’” [DE 58 at 315-16]. Specifically, Wilson argues that the text messages “do

 not support a notion that Movant was at the location in question to retrieve the package in

 question,” and “simply provide no level of detail that would allow law enforcement to distinguish

 the person they were lying in wait for from anyone else in the area.” [Id. at 315]. Wilson points to

 Florida v. J.L., 529 U.S. 266 (2000) to support his argument. [Id.].

        Wilson asserts that Florida v. J.L supports his proposition because the Supreme Court

 “found that a tip that included the age, ethnicity, clothing type, and specific location of the subject



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 was not enough to justify reasonable suspicion for an arrest.” [DE 58 at 315]. But this is not what

 the Supreme Court held in Florida v. J.L., rather, in sum, the Supreme Court held that that an

 anonymous tip that a person is carrying a gun, without more, is insufficient to justify a police

 officer’s stop and frisk of that person. 529 U.S. 266, 273 (2000). The issue here is distinct from

 the issue found in Florida v. J.L., as the text messages were not sent from an anonymous source.

 Instead, the text messages were sent from Ms. Reed, the woman whose address was on the original

 package containing methamphetamine that officers intercepted. Her description of “Bone,” and

 Wilson pulling into the driveway of the same address where the methamphetamine was sent, was

 enough to establish probable cause.

        Thus, when reviewing the record, there is enough alleged to confer probable cause for

 officers to search the car and the packages found within. Under the circumstances discussed above,

 the success of a suppression motion was not plain or clear, and Wilson has not overcome the

 “strong presumption” that counsel’s performance was “within the wide range of reasonable

 professional assistance.” Strickland, 466 U.S. at 689. Accordingly, Wilson’s first objection is

 OVERRULED.

    B. Second Objection

        Second, Wilson objects to the Magistrate Judge’s recommendation that Wilson “failed to

 show his counsel has no reasonable strategic rationale for not filing a motion to suppress the

 physical evidence[.]” [DE 58 at 315]. Wilson argues that the Magistrate Judge failed to

 “point to any intervening information that justifies counsel’s change of heart” and “points to

 nothing that came out of this ‘further investigation’ that would suggest that law enforcement acted

 on reasonable suspicion[.]” [Id. at 316]. Wilson reiterates that “[t]he fact that counsel knew that

 the smell of marijuana justification was bellied by the record and that the text message did not



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 contain information enough to convey reasonable suspicion, shows that that there is no reason for

 his change of seeing a clear violation to advocating for a plea.” [Id.]. But as discussed above,

 officers had probable cause to search Wilson’s vehicle, and probable cause is a higher burden of

 proof than reasonable suspicion. Because officers had probable cause, the strength of a suppression

 motion is not plain nor clear, and therefore a reasonable lawyer could have chosen not to pursue a

 suppression hearing. Therefore, Wilson has not overcome the “strong presumption” that counsel’s

 performance was “within the wide range of reasonable professional assistance.” Strickland, 466

 U.S. at 689. Accordingly, Wilson’s second objection is OVERRULED.

                                       IV.     CONCLUSION

        For all these reasons, and the Court being otherwise sufficiently advised, IT IS

 ORDERED that Wilson’s objections [DE 58] are OVERRULED. The Court ACCEPTS the

 Magistrate Judge’s recommended disposition [DE 55]. Wilson’s habeas petition [DE 46] is

 DISMISSED with prejudice. The Court will enter separate judgment.




         June 20, 2025




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